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    ..



         'A0245B    (Rev. 9/00) Judgment in a Criminal Case
                                                                                                                                     FILED
                    Sheet 1
                                                                                                                                       1.11..1"    v v       c..UII
                                                                                                                                  ~          .......     ~
                                              UNITED STATES DISTRICT COURT                                                   CLERK, U.$, DISTRICT COURT
                                                                                                                          SOUTHERN DISTRICT OF CALIFORNIA
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                         BY                                         0EPUlY
                                                                                                                                                  -.            -­
                      UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November 1, 1987)

                      MARTIN DAVlD BOWMAN [2]                                      Case Number: 10CR4701-002-BTM
                                                                                    JAY SCOTT FINNECY
                                                                                   Defendant's Attomey
         REGISTRATION NO. 22926298

     o   THE DEFENDANT:
         [81 pleaded guilty to count(s) _1_O_F_T_H_E_I_N_F_O_RM_A_T_I_O_N_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         0 was found gUilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             after a plea of not gUilty.
             Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
         Title & Section                     Nature of Offense                                                                              Number(s)
21 USC 841(a)(I), 846;                CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE;                                                                        1




        The defendant is sentenced as provided in pages 2 through _ _4:...-_of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s)
 o Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _-----------------------------
                                      _ _ _ _ _ _ _ is 0 areD dismissed on the motion of the United States.
 [81 Assessment:$IOO.OO to be paid within THIRTY (30) Days.


  [81 Fine waived                                   o      Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days ofany change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                               DECEMBER 5,2011




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                         lOCR4 70 1-002-BTM
    Case 3:10-cr-04701-BTM                          Document 75      Filed 12/06/11         PageID.307          Page 2 of 4


AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                             Judgment - Page    2     of       4

 DEFENDANT: MARTIN DAVID BOWMAN [2]
 CASE NUMBER: lOCR4701..o02-BTM
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          THIRTY (30) MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section I326(b).
    ~ The court makes the following recommendations to the Bureau of Prisons:
                                                                                        ~~
                                                                                        BARRY-TED         MOSKOWiTZ
                                                                                           UNITED STATES DISTRICT JUDGE
          That the defendant participate in the 500 Hour RDAP program.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.    Op.m.    on _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

    ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ~ on 1113/2012 by 12:00pm or to this court on that same date by 2:00pm.
           o as notified by the United States Marshal.
           o notified by the Probation or Pretrial Services Office.
                as



                                                               RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ • with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                     By _ _ _ _ _~~~~~~~~~-----
                                                                                       DEPlITY UNITED STATES MARSHAL




                                                                                                                lOCR4701..o02-BTM
          Case 3:10-cr-04701-BTM                        Document 75         Filed 12/06/11            PageID.308            Page 3 of 4


AD 2450      (Rev. 311 0) Judgment in a Criminal Case for Revocations
             Sheet 3 - Supervised Release
                                                                                                          Judgment-Page ~ of _ _4:...-_ _
DEFENDANT: MARTIN DAVID BOWMAN [2]                                                                a
CASE NUMBER: lOCR4701-002-BTM
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision. unless otherwise ordered by court.

o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, ifapplicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, ifapplicable.)
o The defendant shaH participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shaH permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.
                                                                                                                            lOCR4701-002-BTM
             Case 3:10-cr-04701-BTM                           Document 75    Filed 12/06/11            PageID.309          Page 4 of 4


       AO 245B      (Rev. 9100) Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                        Judgment-Page ---i- of _..;;:.4_ _
       DEFENDANT: MARTIN DAVID BOWMAN [2]                                                          o
       CASE NUMBER: lOCR4701..(102-BTM




                                                SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or opemted, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a progmm of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
  report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o Provide complete disclosure of personal and business financial records to the probation officer as requested.
o probation
  Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines credit
            officer.
                                                                                                                  of       without approval of the


181 Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within                     days.
D Complete              hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Participate in a progmm of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.

D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                               lOCR4701..(102-BTM
